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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :         Criminal No. 22-cr-329 (TJK)
                                              :
JEREMY BERTINO,                               :
                                              :
                       Defendant.             :

                                    JOINT STATUS UPDATE

       The United States of America, by and through its attorney the United States Attorney for

the District of Columbia, and defendant Jeremy Bertino, by and through his attorneys JP Davis

and Taylor Goodnight, hereby notify the Court that defendant Bertino’s cooperation remains

ongoing.    The parties request that the Court set another deadline, in approximately 120 days, at

which point the parties can provide a further update.    The parties do not request that the Court set

a sentencing date at this time.

       Undersigned counsel has conferred with JP Davis and Taylor Goodnight, counsel for Mr.

Bertino, and counsel advised that undersigned counsel may file this as a joint status report.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
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                                      By:       /s/ Erik M. Kenerson
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